
45 So.3d 6 (2010)
Yunior Galvez CASANAS, Petitioner,
v.
STATE of Florida, Respondent.
No. 4D10-1937.
District Court of Appeal of Florida, Fourth District.
June 25, 2010.
George M. Evans of The Law Offices of George M. Evans, P.A., Coral Gables, for petitioner.
Bill McCollum, Attorney General, Tallahassee, and Myra J. Fried, Assistant Attorney General, West Palm Beach, for respondent.
*7 PER CURIAM.
The petition for writ of habeas corpus is granted and the trial court is directed to hold an evidentiary hearing, forthwith, to determine whether there is evidence to sustain a finding that petitioner committed a new offense while on pretrial release. The trial court shall reinstate bond if there is no longer probable cause to believe that petitioner committed a new offense. See Baehren v. State, 962 So.2d 417 (Fla. 4th DCA 2007).
GROSS, C.J., STEVENSON and CIKLIN, JJ., concur.
